Case:17-14004-EEB Doc#:336 Filed:06/01/18                 Entered:06/01/18 16:38:38 Page1 of 2



                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO

 IN RE:                                         )
                                                )
 MESA OIL, INC.                                 )
 d/b/a Mesa Environmental                       )
                                                )      Case No. 17-14004-EEB
                                                )
 EIN:     XX-XXXXXXX                            )
                                                )
          Debtor.                               )

     ORDER CONFIRMING DEBTOR’S AMENDED PLAN OF REORGANIZATION
                       DATED OCTOBER 25, 2017

        The Debtor’s Amended Plan of Reorganization dated October 25, 2017 as further
 amended on March 6, 2018, April 17, 2018 and May 24, 2018 (“Plan”) under Chapter 11 of the
 Bankruptcy Code filed by Mesa Oil, Inc. (“Debtor”) having come before the Court for
 confirmation, the Court having reviewed the file including the Declaration of Lawrence Meers In
 Support of Confirmation of Amended Plan of Reorganization Dated October 25, 2017 finds and
 Orders as follows:

        1.     That the Debtor has complied with all applicable provisions of Chapter 11 of the
 Bankruptcy Code, the Plan meets the requirements of Sections 1122 and 1123 of the Bankruptcy
 Code, and the Debtor has complied with Section 1125 of the Bankruptcy Code.

          2.     The provisions of Chapter 11 of the Bankruptcy Code have been complied with,
 in that the Plan has been proposed in good faith and not by any means forbidden by law.

         3.      That all insiders involved in the Debtor’s post-confirmation activities are
 disclosed in the Disclosure Statement along with their relationship to the Debtor.

        4.      That there exists no governmental regulatory commission having jurisdiction over
 the Debtor on setting rates and fees.

         5.     That each holder of a claim or interest has accepted the Plan or will receive or
 retain under the Plan property of a value, as of the effective date of the Plan, that is not less than
 the amount that such holder would receive or retain if the Debtor was liquidated under Chapter 7
 of the Code.

        6.      That all payments made or promised by the Debtor under the Plan or by any other
 person for services or costs and expenses in or in connection with the Plan or incident to the case
 has been fully disclosed to the Court and is reasonable or if to be fixed after confirmation of the
 Plan will be subject to approval of the Court.

        7.      That all attorneys' fees incurred pre-confirmation shall be subject to Court
 approval as to reasonableness pursuant to the applicable provisions of the Bankruptcy Code.
Case:17-14004-EEB Doc#:336 Filed:06/01/18                Entered:06/01/18 16:38:38 Page2 of 2




        8.      That the Debtor has filed an Amended Summary of Voting Results which
 provides that at least one impaired class of claims has accepted the Plan, determined without
 including any acceptance of the Plan by an insider.

        9.      That confirmation of the Plan is not likely to be followed by the liquidation, or the
 need for further financial reorganization, of the Debtor.

        10.     That on the Effective Date of the Plan all property of the estate shall revest in the
 Debtor free and clear of all liens except those specifically set forth in the Plan or as otherwise
 provided in the Plan.

         11.     The Debtor shall receive a discharge on the Effective Date of the Plan pursuant to
 Section 1141(d). Confirmation of the Plan and the occurrence of the Effective Date of the Plan
 shall constitute a modification of any note or obligation for which specification and treatment is
 provided under the Plan as set forth in the Plan. Any obligation or note, previously in default, so
 modified, shall be cured as modified as of the Effective Date. This provision shall be operable
 regardless of whether the Plan provides for any obligation to be evidenced by a rewritten loan or
 security document following confirmation of the Plan.

         12.    That the fourteen-day stay provided in Fed. R. Bankr. P. 3020(e) shall not apply,
 and this Order shall be in immediate force and effect.

        IT IS HEREBY ORDERED

       That the Debtor’s Amended Plan of Reorganization Dated October 25, 2017, as further
 amended on March 6, 2018, April 17, 2018 and May 24, 2018, filed by the Debtor is hereby
 CONFIRMED.

        DONE and entered this 1st day of June, 2018 at Denver, Colorado.


                                               BY THE COURT:



                                               Honorabl
                                               Honorable
                                                      blle Elizabeth E. Brown
                                               United States Bankruptcy Court Judge




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